60 F.3d 823NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Michael MURRAY, Plaintiff--Appellant,v.NORTH CAROLINA PRISONER LEGAL SERVICES, INCORPORATED;  NorthCarolina Department of Corrections;  Franklin E.Freeman, Jr., Defendants--Appellees.
    No. 95-6428.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 18, 1995.Decided:  June 28, 1995.
    
      Michael Murray, Appellant Pro Se.
      Before NIEMEYER and WILLIAMS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's orders denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  We have reviewed the record and the district court's opinions, and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Murray v. North Carolina Prisoner Legal Servs., Inc., No. CA-94-188-F (E.D.N.C. Mar. 9, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    